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                        THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                   CASE NO.: 21-55484-wlh

 MATTIE ROSETTA JAMES,                                    CHAPTER 7

          Debtor.                                         JUDGE WENDY L. HAGENAU


 SWH 2017-1 BORROWER LP,                                  CONTESTED MATTER
      Movant,
 vs.

 MATTIE ROSETTA JAMES,
      Debtor,

 S. GREGORY HAYS,
       Trustee,
       Respondents.

                     MOTION FOR RELIEF FROM AUTOMATIC STAY

        COMES NOW, SWH 2017-1 BORROWER LP (“Movant”) and hereby moves this Court

for relief from the automatic stay pursuant to 11 U.S.C. § 362(d), with respect to certain real

property. In support thereof, Movant shows as follows:

                                                    1.

        Mattie Rosetta James (“Debtor”) having filed a voluntary petition pursuant to 11 U.S.C.

§ 701, et seq., is subject to the jurisdiction of this Court.
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                                                 2.

       This Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362.

                                                 3.

       Movant is the landlord of certain real property located at 521 Thornbush Trce.,

Lawrenceville, GA 30046 (“Property”), leased to Debtor pursuant to a Residential Lease

Agreement dated August 18, 2019 (“Lease”), with a rental rate of $1,880.00 per month (“Rent”)

for a term that began on August 19, 2020 and ended on August 18, 2021. In the event Rent is not

received by the third (3rd) calendar day of each month, a late fee of $188.00 (“Late Fee”) is

incurred. In addition to rent and late fees, Debtor is also required to pay utilities as they become

due.

                                                 4.

       The Property is listed as Debtor’s address in the Petition [Doc. 1, p. 2].

                                                 5.

       Movant seeks relief in order to continue with dispossessory proceedings (“Dispossessory”)

in Gwinnett County, Georgia to dispossess Debtor, along with any other occupants of the Property,

for failure to pay Rent and fees under the Lease. The Dispossessory was immediately stayed once

Movant was made aware of Debtor’s voluntary petition. A copy of the Gwinnett County Superior

Court Order Staying Proceedings is attached hereto as Exhibit 1.

                                                 6.

       Debtor defaulted under the terms of the Lease by failing to pay all Rent, Late Fees, and

other applicable charges under the Lease as required for September 2019 through the date of the

this motion. As of the date of the instant motion, Debtor owes a total of $50,697.48. Debtor
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continues to accrue arrearages of Rent, Late Fees, utilities, and other applicable charges.

                                                  7.

       Debtor has caused Movant undue hardship. Movant is unable to continue with the

Dispossessory and exercise its state law remedies due to the automatic stay and has incurred costly

attorney fees as a result of Debtor’s actions and filings.

                                                  8.

       Because Debtor has demonstrated a continuing default and a clear inability to make

payments required under the Lease and has not submitted any documentation to the contrary

under the provisions of the bankruptcy code, Movant is not adequately protected. For the

foregoing reasons, Movant asserts that cause exists sufficient to waive the requirements of

Bankruptcy Rule 4001(a)(3).

                                                10.

       Because there is no equitable or legal interest in the Property which could benefit the Estate

and such property is not part of the Estate, the Trustee’s interest should be deemed abandoned, the

Lease rejected, and the stay should be lifted with regard to Movant to allow it to continue with the

Dispossessory to dispossess Debtor along with Debtor’s personal property and, to the extent

permitted by law, obtain a monetary judgment against Debtor for unpaid post-petition Rent while

Debtor remains in possession of the Property.

                                                11.

       Because the Lease provides that Debtor is responsible for Movant’s attorney's fees in

pursuing legal action, Movant is entitled to reasonable attorney's fees from Debtor.
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      WHEREFORE, Movant prays for the following relief:

      (A)    An Order granting Movant relief from the automatic stay entered under 11 U.S.C.

             § 362 for all purposes allowed by applicable law, including but not limited to,

             authorizing Movant to exercise its state law remedies, specifically to continue the

             Dispossessory against Debtor and all other occupants of the Property and remove

             all personal property and personal effects therefrom and to seek a monetary

             judgment for any post-petition amounts due under the Lease to the extent

             permitted by law and by this Court;

      (B)    That the Lease be deemed rejected;

      (C)    The Court award Movant reasonable attorney’s fees and costs for bringing the

             instant motion;

      (D)    The Court waive the 14-day stay of Bankruptcy Rule 4001(a)(3); and

      (E)    For such other and further relief as the Court deems just and equitable.

      Dated: September 15, 2021

                                                   Respectfully Submitted,

                                                   /s/ Lynn M. Wilson
                                                   Lynn M. Wilson, Esq.
                                                   Georgia Bar No. 768852
 Goggans, Stutzman, Hudson,
 Wilson & Mize, LLP                                /s/ Brandi N. Wade
 990 Hammond Drive, Suite 300                      Brandi N. Wade, Esq.
 Atlanta, Georgia 30328                            Georgia Bar No. 868917
 Telephone: (404) 255-6900
 Facsimile: (404) 843-2317                         Counsel for Movant
 lwilson@gshattorneys.com
 bwade@gshattorneys.com
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                                  Exhibit 1
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                      THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE:                                                CASE NO.: 21-55484-wlh

 MATTIE ROSETTA JAMES,                                 CHAPTER 7

          Debtor.                                      JUDGE WENDY L. HAGENAU


 SWH 2017-1 BORROWER LP,                               CONTESTED MATTER
      Movant,
 vs.

 MATTIE ROSETTA JAMES,
      Debtor,

 S. GREGORY HAYS,
       Trustee,
       Respondents.

                                REQUEST FOR HEARING

       PLEASE TAKE NOTICE that SWH 2017-1 BORROWER LP, Movant herein, has filed

a Motion for Relief from Automatic Stay, dated September 15, 2021, and related papers with the

Court seeking an order modifying the automatic stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the motion

in Courtroom 1403, Richard B. Russell Federal Building and U.S. Courthouse, 75 Ted

Turner Drive, SW, Atlanta, Georgia 30303, at 9:30 a.m. on October 14, 2021. “This matter

will be called telephonically; if the matter is to be heard by the Judge, it will be heard

telephonically immediately at the conclusion of the calendar call. Please check the Judge’s

website under the “Hearing Information“ tab for more information.

       Your rights may be affected by the Court’s ruling on these pleadings. You should read the
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pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.

(If you do not have an attorney, you may wish to consult one.) If you do not want the court to grant

the relief sought in these pleadings or if you want the court to consider your views, then you and/or

your attorney must attend the hearing. You may also file a written response to the pleading with

the Clerk at the address stated below, but you are not required to do so. If you filed a written

response, you must attach a certificate stating when, how and on whom (including addresses) you

served the response. Mail or deliver your response so that the Clerk receives it at least two (2)

business days before the hearing. The address of the Clerk’s office is: Clerk, United States

Bankruptcy Court, Room 1403, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303. You

must also mail a copy of your response to the undersigned at the address stated below.

       If a hearing on the Motion for Relief from Automatic Stay cannot be held within thirty (30)

days, Movants waive the requirement for holding a preliminary hearing within thirty (30) days of

filing the motion and agrees to a hearing on the earliest possible date. If the Court cannot render

a final decision within sixty (60) days of the date of the request, Movants waive the requirement

that a final decision be issued within that period.

       Dated: September 15, 2021

                                                      Respectfully Submitted,

                                                      /s/ Lynn M. Wilson
                                                      Lynn M. Wilson, Esq.
                                                      Georgia Bar No. 768852

                                                      /s/ Brandi N. Wade
                                                      Brandi N. Wade, Esq.
                                                      Georgia Bar No. 868917
                                                      Counsel for Movant
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Goggans, Stutzman, Hudson,
Wilson & Mize, LLP
990 Hammond Drive, Suite 300
Atlanta, Georgia 30328
Telephone: (404) 255-6900
Facsimile: (404) 843-2317
lwilson@gshattorneys.com
bwade@gshattorneys.com
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                       THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                           CASE NO.: 21-55484-wlh

 MATTIE ROSETTA JAMES,                            CHAPTER 17

          Debtor.                                 JUDGE WENDY L. HAGENAU


 SWH 2017-1 BORROWER LP,                          CONTESTED MATTER
      Movant,
 vs.

 MATTIE ROSETTA JAMES,
      Debtor,

 S. Gregory Hays,
        Trustee,
        Respondents.

                              CERTIFICATE OF SERVICE

       This is to certify that I have served a copy of Movant’s MOTION FOR RELIEF FROM

AUTOMATIC STAY and REQUEST FOR HEARING electronically or by depositing same in

the United States First Mail in a properly addressed envelope to each with adequate postage

thereon as follows:

 MATTIE ROSETTA JAMES                           S. GREGORY HAYS
 521 Thornbush Trce.                            2964 Peachtree Road
 Lawrenceville, GA 30046                        Suite 555
                                                Atlanta, GA 30305
 SHANNON C. WORTHY
 Stanton and Worthy, LLC                        Office of the United States Trustee
 547 Ponce de Leon Avenue NE                    362 Richard Russell Building
 Suite 150                                      75 Ted Turner Drive, SW
 Atlanta, GA 30308                              Atlanta, GA 30303
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                                              Respectfully Submitted,

                                              /s/ Lynn M. Wilson
                                              Lynn M. Wilson, Esq.
                                              Georgia Bar No. 768852

                                              /s/ Brandi N. Wade
                                              Brandi N. Wade, Esq.
                                              Georgia Bar No. 868917

                                              Counsel for Movant


Goggans, Stutzman, Hudson,
Wilson & Mize, LLP
990 Hammond Drive, Suite 300
Atlanta, Georgia 30328
Telephone: (404) 255-6900
Facsimile: (404) 843-2317
lwilson@gshattorneys.com
bwade@gshattorneys.com
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Debtor
MATTIE ROSETTA JAMES
521 Thornbush Trce
Lawrenceville, GA 30046

Debtor’s Counsel
SHANNON C. WORTHY
Stanton and Worthy, LLC
547 Ponce de Leon Avenue NE
Suite 150
Atlanta, GA 30308

Trustee
S. GREGORY HAYS
2964 Peachtree Road
Suite 555
Atlanta, GA 30305

Office of the United States Trustee
362 Richard Russell Building
75 Ted Turner Drive, SW
Atlanta, GA 30303

Movant’s Counsel
LYNN M. WILSON
BRANDI N. WADE
Goggans, Stutzman, Hudson, Wilson & Mize, LLP
990 Hammond Drive, Suite 300
Atlanta, Georgia 30328
